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Sneed Exhibit 7
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From:             Schwartz, Joshua R
To:               Sneed, William M.
Subject:          RE: Boy Scouts
Date:             Wednesday, November 27, 2019 12:50:05 PM
Attachments:      image001.png
                  image002.png


Bill,

I am writing as a follow up to my email below. When can we expect a reply?

Also, my colleagues managing the BSA claim received a request from your bankruptcy partners
asking to participate in a call discussing the conflict issue. Tanc Schiavoni (Chubb’s bankruptcy
counsel) called your colleague Bill Andolina to advise that there is a scheduling conflict. In talking
about an agenda for the requested call, Mr. Andolina listed for Tanc the conflict issue, but he did not
know about our email communication. We think it would be prudent for discussions regarding the
conflict issue to include the two of us. Before we have a discussion, we would like to review Sidley’s
General Counsel opinion and/or any other analysis (as set forth below). Please let your partner
know that this is how we would like to proceed.

I hope you and your family have a great Thanksgiving.

Thanks and best regards, Josh



Joshua R. Schwartz
Managing Counsel - Director of Reinsurance Litigation

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ACE and Chubb are now one.


From: Schwartz, Joshua R
Sent: Wednesday, November 20, 2019 1:41 PM
To: Sneed, William M.
Subject: RE: Boy Scouts

Bill,

I am writing regarding our communication on October 29 discussing the Boy Scouts conflict issue
and the subsequent communications between your bankruptcy partners and Chubb’s Claims team.
Sidley has told us that there is no conflict with Sidley’s simultaneous representations of BSA in
bankruptcy-related matters and Chubb in the BSA reinsurance matters. We would like to review
Sidley’s explanation for why there is no conflict. Please send us Sidley’s General Counsel’s opinion or
any other analysis that led to the no conflict position so that we can further evaluate this issue.

Best regards, Josh
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Joshua R. Schwartz
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ACE and Chubb are now one.


From: Schwartz, Joshua R
Sent: Tuesday, October 29, 2019 5:48 PM
To: Sneed, William M.
Subject: Boy Scouts

Bill,

Thank you for the discussion earlier today. As we discussed, I just learned that Sidley is representing
Boy Scouts of America (BSA) in a potential bankruptcy filing. Chubb does not agree to waive any
conflict presented by this potential representation and your representation of Chubb in the Lloyd’s
and         reinsurance matters. I will discuss this issue internally and circle back to you after we
conclude those discussions. Please let me know if you have any questions in the interim.

Best regards, Josh



Joshua R. Schwartz
Managing Counsel - Director of Reinsurance Litigation

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ACE and Chubb are now one.



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